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        6                       IN THE UNITED STATES DISTRICT COURT
        7                               FOR THE DISTRICT OF ARIZONA
        8
        9    Mitch Taebel,                                    No. CV 21-02066-PHX-ROS (CDB)
       10                         Plaintiff,
       11    v.                                               ORDER
       12
             Donald J. Trump, et al.,
       13
       14                         Defendants.
       15
       16          On December 6, 2021, Plaintiff Mitch Taebel, who is not in custody, filed a pro se
       17   civil rights Complaint, which the Court construes as brought pursuant to 42 U.S.C. § 1983.
       18   Plaintiff did not pay the $350.00 civil action filing fee and $52.00 administrative fee or file
       19   an Application to Proceed In District Court Without Prepaying Fees or Costs. The Court
       20   will give Plaintiff 30 days to pay the filing and administrative fees or file a complete
       21   Application to Proceed.
       22   I.     Payment of Filing Fee
       23          When bringing an action, a plaintiff must pay the $350.00 filing fee and a $52.00
       24   administrative fee in a lump sum at the outset of the action. If a plaintiff is indigent, the
       25   plaintiff may request to proceed in forma pauperis, and, if granted, will not be required to
       26   pay the filing and administrative fees. Because Plaintiff has not paid the $402.00 filing
       27   and administrative fees or filed an Application to Proceed, Plaintiff will be permitted 30
       28   days from the filing date of this Order to submit a complete Application to Proceed, using


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        1   the form included with this Order, or pay the $402.00 filing and administrative fees in full.
        2   II.    Warnings
        3          A.     Address Changes
        4          If Plaintiff’s address changes, Plaintiff must file and serve a notice of a change of
        5   address in accordance with Rule 83.3(d) of the Local Rules of Civil Procedure. Plaintiff
        6   must not include a motion for other relief with a notice of change of address. Failure to
        7   comply may result in dismissal of this action.
        8          B.     Possible Dismissal
        9          If Plaintiff fails to timely comply with every provision of this Order, including these
       10   warnings, the Court may dismiss this action without further notice. See Ferdik v. Bonzelet,
       11   963 F.2d 1258, 1260-61 (9th Cir. 1992) (a district court may dismiss an action for failure
       12   to comply with any order of the Court).
       13   IT IS ORDERED:
       14          (1)    Within 30 days of the date this Order is filed, Plaintiff must either pay the
       15   $350.00 filing fee and $52.00 administrative fee or file a complete Application to Proceed
       16   In District Court Without Prepaying Fees or Costs.
       17          (2)    If Plaintiff fails to either pay the $350.00 filing fee and $52.00 administrative
       18   fee or file a complete Application to Proceed within 30 days, the Clerk of Court must enter
       19   a judgment of dismissal of this action without prejudice and without further notice to
       20   Plaintiff and deny any pending unrelated motions as moot.
       21   ....
       22   ....
       23   ....
       24   ....
       25   ....
       26   ....
       27   ....
       28   ....


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        1         (3)    The Clerk of Court must mail Plaintiff a court-approved form for filing an
        2   Application to Proceed In District Court Without Prepaying Fees or Costs (Long Form).
        3         Dated this 14th day of December, 2021.
        4
        5
        6                                                  Honorable Roslyn O. Silver
        7                                                  Senior United States District Judge

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AO 239 (01/09) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       __________ District of __________

                                                                              )
                         Plaintiff/Petitioner                                 )
                                  v.                                          )        Civil Action No.
                                                                              )
                       Defendant/Respondent                                   )

        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        (Long Form)


 Affidavit in Support of the Application                                     Instructions

 I am a plaintiff or petitioner in this case and declare                     Complete all questions in this application and then sign it.
 that I am unable to pay the costs of these proceedings                      Do not leave any blanks: if the answer to a question is “0,”
 and that I am entitled to the relief requested. I declare                   “none,” or “not applicable (N/A),” write that response. If
 under penalty of perjury that the information below is                      you need more space to answer a question or to explain your
 true and understand that a false statement may result in                    answer, attach a separate sheet of paper identified with your
 a dismissal of my claims.                                                   name, your case's docket number, and the question number.

 Signed:                                                                     Date:


1.        For both you and your spouse estimate the average amount of money received from each of the following
          sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
          semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
          for taxes or otherwise.
                      Income source                                    Average monthly income                 Income amount expected
                                                                       amount during the past 12                    next month
                                                                               months
                                                                         You            Spouse                  You            Spouse
Employment
                                                                  $                       $               $               $
Self-employment
                                                                  $                       $               $               $
Income from real property (such as rental income)
                                                                  $                       $               $               $
Interest and dividends
                                                                  $                       $               $               $
Gifts
                                                                  $                       $               $               $
Alimony
                                                                  $                       $               $               $
Child support
                                                                  $                       $               $               $
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Retirement (such as social security, pensions, annuities,
                                                                  $                       $                 $                $
insurance)
Disability (such as social security, insurance payments)
                                                                  $                       $                 $                $
Unemployment payments
                                                                  $                       $                 $                $
Public-assistance (such as welfare)
                                                                  $                       $                 $                $
Other (specify):
                                                                  $                       $                 $                $

                                                                  $                       $                 $                $
                                 Total monthly income:

2.        List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
          other deductions.)

Employer                             Address                                                      Dates of employment              Gross
                                                                                                                                 monthly pay
                                                                                                                             $

                                                                                                                             $

3.        List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
          taxes or other deductions.)

Employer                             Address                                                      Dates of employment              Gross
                                                                                                                                 monthly pay
                                                                                                                             $

                                                                                                                             $

                                                                                                                             $

4.        How much cash do you and your spouse have? $
          Below, state any money you or your spouse have in bank accounts or in any other financial institution.
Financial institution                           Type of account                                  Amount you have            Amount your
                                                                                                                             spouse has
                                                                                          $                             $

                                                                                          $                             $

                                                                                          $                             $

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
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5.        List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
          household furnishings.
                                                      Assets owned by you or your spouse

Home (Value)                                                                                                 $
Other real estate (Value)
                                                                                                             $

Motor vehicle #1 (Value)                                                                                     $

                  Make and year:

                  Model:

                  Registration #:

Motor vehicle #2 (Value)                                                                                     $

                  Make and year:

                  Model:

                  Registration #:

Other assets (Value)                                                                                         $

Other assets (Value)                                                                                         $

6.        State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse                           Amount owed to you                              Amount owed to your spouse
money
                                                 $                                                    $

                                                 $                                                    $

                                                 $                                                    $

7.        State the persons who rely on you or your spouse for support.
Name (or, if under 18, initials only)                                        Relationship                                     Age
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8.        Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
          spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
          monthly rate.
                                                                                                          You       Your spouse

Rent or home-mortgage payment (including lot rented for mobile home)
        Are real estate taxes included? u Yes u No                                                    $         $
        Is property insurance included? u Yes u No
Utilities (electricity, heating fuel, water, sewer, and telephone)                                    $         $

Home maintenance (repairs and upkeep)                                                                 $         $

Food                                                                                                  $         $

Clothing                                                                                              $         $

Laundry and dry-cleaning                                                                              $         $

Medical and dental expenses                                                                           $         $

Transportation (not including motor vehicle payments)                                                 $         $

Recreation, entertainment, newspapers, magazines, etc.                                                $         $

Insurance (not deducted from wages or included in mortgage payments)

          Homeowner's or renter's:                                                                    $         $

          Life:                                                                                       $         $

          Health:                                                                                     $         $

          Motor vehicle:                                                                              $         $

          Other:                                                                                      $         $
Taxes (not deducted from wages or included in mortgage payments) (specify):
                                                                                                      $         $

Installment payments

          Motor vehicle:                                                                              $         $

          Credit card (name):                                                                         $         $

          Department store (name):                                                                    $         $

          Other:                                                                                      $         $

Alimony, maintenance, and support paid to others                                                      $         $
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Regular expenses for operation of business, profession, or farm (attach detailed                      $   $
statement)

Other (specify):                                                                                      $   $

                                                                                                      $   $
                                                                       Total monthly expenses:

9.        Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
          next 12 months?
          u Yes          u No             If yes, describe on an attached sheet.

10.       Have you paid — or will you be paying — an attorney any money for services in connection with this case,
          including the completion of this form? u Yes u No
          If yes, how much? $
          If yes, state the attorney's name, address, and telephone number:




11.       Have you paid — or will you be paying — anyone other than an attorney (such as a paralegal or a typist) any money
          for services in connection with this case, including the completion of this form?    u Yes u No
          If yes, how much? $
          If yes, state the person's name, address, and telephone number:




12.       Provide any other information that will help explain why you cannot pay the costs of these proceedings.




13.       Identify the city and state of your legal residence.



          Your daytime phone number:
          Your age:                     Your years of schooling:
          Last four digits of your social-security number:
